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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11   CNC SOFTWARE, INC.,           )             Case No.: SACV 8:19-cv-1444-JLS-JDE
                                   )
12            Plaintiff,
                                   )             CERTIFICATION AND ORDER TO
13        v.                       )             SHOW CAUSE RE: CONTEMPT AND
                                   )             MONETARY SANCTIONS AGAINST
14   T D MANUFACTURING, INC.,
     DENNIS TRUONG, AND DOES 1-10, )             DEFENDANTS TD
15                                 )             MANUFACTURING, INC. AND
              Defendants.          )             DENNIS TRUONG
16
                                   )
17                                 )
18
19         Plaintiff and Judgment Creditor CNC Software, Inc. seeks an Order to Show
20   Cause re: Contempt and Monetary Sanctions against Defendants TD Manufacturing,
21   Inc. and Dennis Truong’s failure to appear for a Judgment Debtor Examination on
22   October 28, 2021.
23         In accordance with 28 U.S.C. section 636(e), the Magistrate Judge certifies the
24   following facts:
25         1.       On April 07, 2020, the Court issued a Judgment in favor of Plaintiff and
26   against Defendant, in the amount of $347,521.41 (Docket 24).
27         2.       On September 29, 2021, Plaintiff filed an Application for Appearance
28   and Examination re Enforcement of Judgment seeking an order that Dennis Truong and
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     CERTIFICATION AND ORDER TO SHOW CAUSE RE: CONTEMPT AND MONETARY SANCTIONS AGAINST DEFENDANTS
                                TD MANUFACTURING, INC. AND DENNIS TRUONG
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 1   TD Manufacturing, Inc. appear before the Magistrate Judge for a Judgment Debtor
 2   Examination (Docket 26).
 3         3.         On September 29, 2021, the Magistrate Judge issued an Order to Appear
 4   for Examination re Enforcement of Judgment (“Order to Appear”), requiring Dennis
 5   Truong and TD Manufacturing, Inc. to appear before the Magistrate Judge on October
 6   28, 2021, in Courtroom 6A of the United States District Court, located at 411 W. Fourth
 7   Street, Santa Ana, California 92701, at 10:00 a.m. for a Judgment Debtor Examination
 8   (Docket 28).
 9         4.       On October 15, 2021, Plaintiff filed a Proof of Service reflecting Personal
10   Service on TD Manufacturing, Inc. (Docket 30) and Dennis Truong (Docket 31) of the
11   Order to Appear on October 28, 2021.
12         5.       Dennis Truong and DT Manufacturing did not appear for examination on
13   October 28, 2021 at 10:00 a.m.
14         IT IS SO CERTIFIED.
15
16                                   ORDER TO SHOW CAUSE
17         Dennis Truong IS HEREBY ORDERED TO PERSONALLY APPEAR on
18   December 9, 2021 at 10:00 a.m., in Courtroom 6A of the United State District Court for
19   the Central District of California, located at 411 W. Fourth Street, Santa Ana, CA
20   92701, before United States Magistrate Judge John D. Early, to show cause why
21   Defendants Dennis Truong and TD Manufacturing, Inc. should not be held in contempt
22   of Court for failure to comply with this Court’s Order to Appear, and why monetary
23   sanctions should not be imposed for Court Reporter costs ordered by Plaintiff, and
24   Plaintiff’s reasonable attorney’s fees for appearing at the examination. At the show
25   cause hearing, Dennis Truong and TD Manufacturing, Inc. may be summarily referred
26   to the presiding District Judge to show cause why they should not be held in contempt.
27   ///
28   ///
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     CERTIFICATION AND ORDER TO SHOW CAUSE RE: CONTEMPT AND MONETARY SANCTIONS AGAINST DEFENDANTS
                                TD MANUFACTURING, INC. AND DENNIS TRUONG
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 1        Plaintiff shall promptly serve this Order by personal service on Dennis Truong and
 2   TD Manufacturing, Inc. and provide proof of such service by December 2, 2021.
 3        IT IS SO ORDERED.
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 5   Dated: NOVEMBER 08, 2021                      ___________________________
                                                   JOHN D. EARLY
 6                                                 United States Magistrate Judge
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     CERTIFICATION AND ORDER TO SHOW CAUSE RE: CONTEMPT AND MONETARY SANCTIONS AGAINST DEFENDANTS
                                TD MANUFACTURING, INC. AND DENNIS TRUONG
